Case 2:05-cr-20104-.]P|\/| Document 25 Filed 05/31/05 Page 1 of 2 Page|D 20

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P|alntiff
vs.
cR. No. 05-20104-0
AMsRozE oouNzE
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC!FY|NG PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav, Julv 21. 2005, at 9:00 a.m., in Courtroom 3. 9th F|oor of the
Federa| Bui|ding, Memphis, TN.

The period from l\/|ay 19, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

rr ls so oRDERED this 55 day or May, 2005.

QZ:W@QZi/%,/y

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with Hu|e 55 and/or 32(5) FRCrP on

ISTRIC COURT - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
ease 2:05-CR-20104 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

